
Blandford. J.
1. Where a chattel mortgage was foreclosed and levfled1 on two mules and certain corn, fodder and cotton, and on the trial ithe-mules were found not subject and the other property was found sub*72ject, if there was any error in the charge relating to the mules, it did-not injure the claimant.
Hawkins &amp; Hawkins, for plaintiff in error.
J. A. Ansley; L. J. Blalock; B. B. Hinton, for defendants.
2. Where a witness had been attached for non-attendance, and he appeared in court after the case had been closed and two speeches had been made, there was no error in permitting him to be introduced, the court offering, at the same time, to allow the case to be postponed until the claimant could send for any witnesses, he desired, which was declined or not complied with.
3. The verdict finding a portion of the property levied on subject, was sustained by the evidence and if there was error in finding any of it not subject, it was not error of which the claimant could complain.
Judgment affirmed.
